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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

MATTHEW A. MITCHELL                               §
                                                  §
       Plaintiff,                                 §
                                                  §
                                                    CIVIL ACTION NO. 4:15-cv-00230
v.                                                §
                                                  §
                                                    JURY
TRAVELERS LLOYDS OF TEXAS                         §
INSURANCE COMPANY                                 §
                                                  §
       Defendant.                                 §

                                STIPULATION OF DISMISSAL

       Pursuant to Rule 41(1)(A)(ii) Matthew A. Mitchell (“Plaintiff”), and Defendant Travelers

Lloyds of Texas Insurance Company (“Travelers”) hereby submit this Stipulation of Dismissal

and would respectfully show this Court as follows:

       1.      The parties reached a settlement regarding all claims asserted by Plaintiff in the

above-captioned lawsuit. Pursuant to the terms of that settlement, Plaintiff agreed to seek the

dismissal of all claims asserted by Plaintiff or which could have been asserted by Plaintiff

against Defendant in this suit with prejudice. The parties hereby stipulate to the dismissal of

such claims with prejudice. It is Plaintiff’s intention to dismiss all claims against all Defendant.

       2.      The parties have further agreed that all costs, expenses and attorney’s fees are to

be borne by the party incurring same.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Matthew A. Mitchell and

Defendant Travelers Lloyds of Texas Insurance Company respectfully present this Stipulation

and request the Court dismiss this civil action with prejudice, with all costs, expenses and

attorney’s fees borne by the party incurring same, and for such other and further relief to which

they may be justly entitled


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                                   Respectfully submitted,

                                             /s/ Eric B. Dick (with permission)
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